Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 1 of 18. PageID #: 1207




                         Exhibit B
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                                                                                                 US010890278B2

( 12 ) Berardi
       United States Patent                                                    ( 10) Patent No .: US 10,890,278 B2
                                                                               (45 ) Date of Patent :  * Jan . 12 , 2021
( 54 ) EXPANDABLE AND CONTRACTIBLE                                        ( 56 )                  References Cited
         GARDEN HOSE
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( 71 ) Applicant: Telebrands Corp. , Fairfield , NJ (US )                          25,239 A         8/1859 Boyd
                                                                                   31,614 A         3/1861 Mayall
( 72 ) Inventor: Michael J. Berardi , Palm Beach                                                      (Continued )
                    Gardens, FL ( US )
( 73 ) Assignee : Telebrands Corp. , Fairfield, NJ (US )                               FOREIGN PATENT DOCUMENTS
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( * ) Notice:       Subject to any disclaimer, the term of this           CN                 1266155            9/2000
                    patent is extended or adjusted under 35                                            (Continued )
                    U.S.C. 154 ( b ) by 0 days.
                    This patent is subject to a terminal dis                                 OTHER PUBLICATIONS
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                                                                          com /watch ? v = aT4kbfJANRO, ( retrieved Nov. 25 , 2013 ) .
( 22 ) Filed :     Dec. 17 , 2018                                                                      (Continued )
( 65 )                 Prior Publication Data                             Primary Examiner          Patrick F Brinson
         US 2019/0195397 A1         Jun . 27 , 2019
                                                                          (74 ) Attorney , Agent, or Firm — McHale & Slavin , P.A.
                                                                          ( 57 )                     ABSTRACT
             Related U.S. Application Data                                A hose which automatically expands longitudinally and
( 60 ) Continuation of application No. 15 / 794,662 , filed on            automatically expands laterally upon the application of a
         Oct. 26 , 2017 , now Pat . No. 10,174,870 , which is a           pressurized liquid is disclosed . The hose can automatically
                          ( Continued )                                   expand longitudinally up to six times its unexpanded or
                                                                          contracted length . Upon release of the pressurized liquid
(51 ) Int. Cl.                                                            within the hose, the hose will automatically contract to a
         F16L 11/04             ( 2006.01 )                               contracted condition . The hose includes an inner tube made
         F16L 33/01             ( 2006.01 )                               from an elastic material and an outer tube made from a
                          (Continued )                                    non - elastic material. The inner tube is positioned concentri
( 52 ) U.S. CI .                                                          cally within the outer tube in both a contracted condition and
         CPC                F16L 11/04 ( 2013.01 ) ; F16L 11/00           an expanded condition . The outer tube is secured to the inner
               (2013.01 ) ; F16L 11/12 ( 2013.01 ) ; F16L 33/01           tube only at a first end of the inner and outer tubes and at a
                                                                          second end of the inner and outer tubes . The outer tube
                                                        ( 2013.01 )       moves laterally and longitudinally with respect to the inner
( 58 ) Field of Classification Search                                     tube when the tubes are transitioning between a contracted
         CPC        F16L 11/111 ; F16L 11/118 ; F16L 11/112 ;             condition and an expanded condition .
                                                      F16L 11/115
                          (Continued )                                                   19 Claims , 3 Drawing Sheets


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         16             24                                            2                -12             -27                    29         28
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    Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 3 of 18. PageID #: 1209


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                                                                                     Action No. 12-06671 - FSH - JBC , U.S. District Court, District of
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District Court, District of New Jersey, Telebrands Corp.'s Invalidity                Products, Inc.'s invalidity contentions pursuant to local patent rule
Contentions Pursuant to local patent rule 3.3 , ( Jan. 20 , 2014 ) .                 3.3 , ( Jan. 20 , 2014 ) .
Exhibit A 941 McDonald , Telebrand Contentions, Civil Action No.                     Exhibit B , Tristar Contentions, Civil Action No. 2: 13 -CV -07099
12-06671 - FSH - JBC , U.S. District Court, District of New Jersey,                  FSH - JBC , U.S. District Court, District of New Jersey, Tristar
Telebrands Corp.’s Invalidity Contentions Pursuant to local patent                   Products, Inc.'s invalidity contentions pursuant to local patent rule
rule 13 , ( Jan. 20 , 2014 ) .                                                       3.3 , ( Jan. 20 , 2014 ) .
Exhibit B 941 Many, Telebrand Contentions , Civil Action No.                         Exhibit C , Tristar Contentions, Civil Action No. 2 : 13 -CV -07099
12-06671 - FSH - JBC , U.S. District Court, District of New Jersey,                  FSH - JBC , U.S. District Court, District of New Jersey, Tristar
Telebrands Corp.'s Invalidity Contentions Pursuant to local patent                   Products , Inc.'s invalidity contentions pursuant to local patent rule
rule 3.3 , ( Jan. 20 , 2014 ) .                                                      3.3 , ( Jan. 20 , 2014 ) .
Exhibit C 942 McDonald, Telebrand Contentions, Civil Action No.                      Exhibit D , Tristar Contentions, Civil Action No. 2 : 13 -CV -07099
12-06671 - FSH - JBC , U.S. District Court, District of New Jersey,                  FSH - JBC , U.S. District Court, District of New Jersey, Tristar
Telebrands Corp.'s Invalidity Contentions Pursuant to local patent                   Products, Inc.'s invalidity contentions pursuant to local patent rule
rule 13 , ( Jan. 20 , 2014 ) .                                                       3.3 , ( Jan. 20 , 2014 ) .
Exhibit D 942 Many , Telebrand Contentions, Civil Action No.                         Exhibit E , Tristar Contentions, Civil Action No. 2 : 13 -CV -07099
12-06671 - FSH - JBC , U.S. District Court, District of New Jersey,                  FSH - JBC , U.S. District Court, District of New Jersey, Tristar
Telebrands Corp.’s Invalidity Contentions Pursuant to local patent                   Products, Inc.'s invalidity contentions pursuant to local patent rule
rule 13 , ( Jan. 20 , 2014 ) .                                                       3.3 , ( Jan. 20 , 2014 ) .
Exhibit E 776 McDonald , Telebrand Contentions, Civil Action No.                     Exhibit F, Tristar Contentions , Civil Action No. 2 : 13 - CV -07099
12-06671 - FSH - JBC , U.S. District Court, District of New Jersey,                  FSH - JBC , U.S. District Court, District of New Jersey, Tristar
Telebrands Corp.’s Invalidity Contentions Pursuant to local patent                   Products, Inc.'s invalidity contentions pursuant to local patent rule
rule 13 , ( Jan. 20 , 2014 ) .                                                       3.3 , ( Jan. 20 , 2014 ) .
Exhibit F 776 Many, Telebrand Contentions, Civil Action No.                          Exhibit G , Tristar Contentions, Civil Action No. 2 : 13 -CV -07099
12-06671 - FSH - JBC , U.S. District Court, District of New Jersey,                  FSH - JBC , U.S. District Court, District of New Jersey, Tristar
Telebrands Corp.'s Invalidity Contentions Pursuant to local patent                   Products, Inc.'s invalidity contentions pursuant to local patent rule
rule 3.3 , ( Jan. 20 , 2014 ) .                                                      3.3 , ( Jan. 20 , 2014 ) .
Exhibit G 941 McDonald , Telebrand Contentions , Civil Action No.                    Exhibit H , Tristar Contentions, Civil Action No. 2 : 13 -CV -07099
12-06671 - FSH - JBC , U.S. District Court, District of New Jersey ,                 FSH - JBC , U.S. District Court, District of New Jersey, Tristar
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rule 3.3 , ( Jan. 20 , 2014 ) .                                                      3.3 , ( Jan. 20 , 2014 ) .
Exhibit H 941 Ragner, Telebrand Contentions , Civil Action No.                       Blue Gentian , LLC and National Express, Inc. v. Tristar Products,
12-06671 - FSH - JBC , U.S. District Court, District of New Jersey,                  Inc., Civil Action No. 13-1758 ( FSH ) ( JBC ) , Third amended com
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U.S. Patent             Jan. 12 , 2021        Sheet 1 of 3                    US 10,890,278 B2




                       12 38     14                                           14
                                                                12 -38
            FIG
            2
            .                                         FIG
                                                      .
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                  28                  - 18                28                        18
            10 29                        30         10 30                             29
                   27                                        27
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          FIG     2                   2             3
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                                                    FIG   4                         4




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 Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 8 of 18. PageID #: 1214


U.S. Patent             Jan. 12 , 2021     Sheet 2 of 3   US 10,890,278 B2




                                         FIG . 5

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              14


                                         FIG . 6


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 Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 9 of 18. PageID #: 1215


U.S. Patent                 Jan. 12 , 2021                  Sheet 3 of 3                US 10,890,278 B2




                                             FIG . 7
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                                             FIG . 8
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  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 10 of 18. PageID #: 1216


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        EXPANDABLE AND CONTRACTIBLE                             lem is usually encountered by the average homeowner when
                GARDEN HOSE                                     using a garden hose to water their grass, plants, or wash their
                                                                vehicles.
                          PRIORITY                                 Firefighters have a solution to the kinking problem . The
                                                              5 hoses that they use collapse into a relatively flat state when
   In accordance with 37 C.F.R. 1.76 , a claim of priority is the liquids are removed from the hoses . The hoses are then
including in an Application Data Sheet filed concurrently stored in layers which are formed by the hose being laid
herewith . Accordingly, the present invention claims priority back and forth upon itself. When the firefighters use the
as a continuation of U.S. patent application Ser. No. 15/794 , hoses stored like this, they only have to pull at one end of
662 entitled Expandable and Contractible Garden Hose ”, 10 the hose and it unfolds in a straight line without kinking.
filed Oct. 26 , 2017 , which claims priority as a continuation This is not a practical solution to a homeowner's problem of
of U.S. patent application Ser. No. 15 /440,841 entitled hose storage because gardens hoses are relatively small in
“ Garden Hose Device and Method ” filed Feb. 23 , 2017 and         diameter, compared to fire hoses , and almost all garden
issued on Dec. 12 , 2017 as U.S. Pat. No. 9,841,127 , which hoses do not collapse into a flat condition when the water is
claims priority as a divisional of U.S. patent application Ser. 15 emptied from the hose .
No. 15 /055,095 entitled “ Commercial Hose” filed Feb. 26 ,          Another problem with hoses known in the art is that they
2016 and issued on Feb. 28 , 2017 as U.S. Pat . No.9,581,272 are heavy bulky and difficult to unravel when lying on the
which claims priority as a continuation of U.S. patent ground and also difficult to handle and drag around to the
application Ser. No. 14 /301,825 entitled " Commercial place where the liquid is needed both when they are filled
Hose” filed Jun . 11 , 2014 and issued on Mar. 8 , 2016 as U.S. 20 with a liquid and equally as difficult to handle and drag
Pat . No. 9,279,525 , which is a continuation of U.S. patent around when they are empty and needing to be returned to
application Ser. No. 13 / 859,511 , entitled " Commercial there original place of storage . Also , if the user does not have
Hose ” , filed Apr. 9 , 2013 , and issued Jun . 24 , 2014 as U.S. a device for winding the hose then he must try to place the
Pat . No. 8,757,213 , which is a continuation - in -part of U.S. hose on the ground in a way as to not entangle the hose
patent application Ser. No. 13 / 690,670 , entitled “ Expand- 25 within itself because if the hose does become entangled
able Garden Hose ” , filed Nov. 30 , 2012 , and issued on Jul . within itself this makes it difficult and frustrating to unravel
9 , 2013 at U.S. Pat . No. 8,479,776 , which is a continuation- the hose the next time the hose is used .
in -part of U.S. patent application Ser. No. 13 / 654,832 ,            Therefore, what is needed in the art is a hose that can be
entitled “ Expandable Hose Assembly Coupling Member ” , expanded and extended to a practical length during use , and
filed Oct. 18 , 2012 , and now abandoned, which is a con- 30 automatically returned to the reduced length when not in
tinuation - in -part of U.S. patent application Ser. No. 13/488 , use . Also , a hose which is relatively light in weight and will
515 , entitled “ Expandable Hose Assembly " , filed Jun . 5 , not kink when taken from storage and filled with liquid for
2012 , and issued Oct. 23 , 2012 as U.S. Pat . No. 8,291,942 , use .
which is a continuation - in - part of U.S. patent applicatio                  DESCRIPTION OF THE PRIOR ART
Ser. No. 13 /289,447 , entitled “ Expandable and Contractible 35
Hose ” , filed Nov. 4 , 2011 , and issued Oct. 23 , 2012 as U.S.
Pat . No. 8,291,941 ; the contents of the above referenced             R. H. Vansickle et al . , U.S. Pat. No. 3,481,368 discloses
patents are incorporated herein by reference.                       a flexible hose comprising an elastomer liner tube sur
                                                                    rounded by a plurality of layers of metallic wire reinforce
                  FIELD OF THE INVENTION                         40 ment and an external cover, the inner reinforcing 15 layer
                                                                    comprising a single thickness of helically wound wires
    The present invention relates to a hose for carrying liquid interlaced by textile yarns with the wires lying in a smooth
materials. In particular, a hose that automatically contracts to cylindrical configuration and all interlacing crimp being in
a contracted state when there is no pressurized liquid within the textile yarns. One or more additional reinforcing layers
the hose and expands to an extended state when a pressur- 45 of wire are wound helically without 20 interlacing textile
ized liquid is introduced into the hose . In the contracted state yarns and with an insulating layer of elastomer between each
the hose is relatively easy to store and easy to handle layer of reinforcement. A layer of braided wire may be
because of its relative short length and its relative light provided over the other reinforcing layers and beneath the
weight and in the extended state the hose can be located to cover.
where ever the liquid is required . The hose is comprised of 50 J. C. Hamrick , U.S. Pat . No. 3,520,725 discloses a
an elastic inner tube and a separate and distinct non- elastic vacuum cleaning system in which a pliable but flexurally
outer tube positioned around the circumference of the inner rigid vacuum hose normally stored within a suction conduit
tube and attached and connected to the inner tube only at has little or no stretchability when the hose is being moved
both ends and is separated, unattached unbonded and uncon to extended or retracted stored condition in the conduit to
nected from the inner tube along the entire length of the hose 55 facilitate movement of the hose through bends in the con
between the first end and the second end .                          duit, and wherein a piston on the hose 20 is deformable so
                                                                    as to be moved past an abutment carried by an outlet
           BACKGROUND OF THE INVENTION                              receptacle on the outer end of the conduit, and wherein
                                                                    interengagement between the piston and the abutment oth
    Hoses which are used to carry various liquids are known 60 erwise limits extension or retraction of the hose, as the case
in the art. One of the problems encountered with these hoses may be , relative to the conduit.
is storage of the hose when it is not being used to transport          Buhrmann et al . , U.S. Pat . No. 3,682,202 discloses an
the liquids. While current hoses are flexible and can be improved collapse -resistant, reinforced hose of flexible
wrapped around a cylinder or drum for storage and transport, polymeric material including a semi- rigid generally circum
the length and width of the hose cannot be reduced. Another 65 ferentially disposed supporting structure which includes
problem encountered with wrapped or coiled hoses is that preferably a single layer of textile fabric reinforcement, the
they tend to kink when unwrapped or uncoiled . This prob- major portion of which is composed of treated polyester or
  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 11 of 18. PageID #: 1217


                                                    US 10,890,278 B2
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nylon fibers. The polyester or nylon fibers are treated with an balanced fabric having a high performance elastomer
organic polyisocyanate and preferably a solution of at least    adhered to the inner and outer surfaces of each fabric ply.
2 percent organic polyisocyanate in a non - reactive solvent.      Mercer, U.S. Pat. No. 5,023,959 discloses a system for
The hose has substantially improved bursting strength and extending and retracting the waste hose for a waste disposal
resistance to vacuum collapse without the need of additional 5 system that is typically found on recreational vehicles and
support, such as a metal wire insert. The invention is includes power or crank - driven hose extender means for
particularly useful for flexible radiator hoses used in auto- extending the collapsible hose from its collapsed mode
motive vehicle cooling systems .                                stored on -board the recreational vehicle , to its extended
   Sullivan, U.S. Pat . No. 4,009,734 discloses a flexible 10 configuration which it is used for dumping waste from an
self -retracting coiled tubing having desirable recoil strength RV holding tank into an inlet of an RV waste dump station.
and elastic memory is described . The coiled tubing is             Whaley, U.S. Pat . No. 5,036,890 discloses a device which
adaptable especially as a self-retracting air tube for trans- may be inserted into the hydrant end of a conventional
mitting fluids under pressure to pneumatic equipment. The garden or water hose for the purpose of reinforcing that
coiled tubing comprises an extruded seamless plastic tube 15 portion of the hose which is apt to be kinked or broken due
prepared by extruding a mixture comprising a chemically to short bending of the hose at the hydrant end by tension
extended polyester and from about 10 % to about 50 % of a imposed on the hose during use . The reinforcement device
polybutylene terephthalate polymer.                             comprises a length of coiled resilient material having a
   Logan , U.S. Pat . No. 4,091,063 discloses a molded hose resilient gasket mounted on one end thereof which may be
construction and method of making same is provided 20 inserted or removed from a hose at will .
wherein such hose construction has axially spaced convo-           LoJacono , Jr. et al . , U.S. Pat . No. 5,246,254 discloses an
lutions and a controlled flexibility defined by alternating anti-kinking device used in conjunction with a garden vari
crests and troughs, and the hose construction has an elasto- ety water hose, wherein the device includes a housing
meric inner layer, an elastomeric outer layer, and an inter- defined by a tubular body having a coupling member rotat
mediate reinforcing layer made of a fabric material having 25 ably mounted to the tubular body so as to be connected to a
a substantial open space between cooperating threads defin- water faucet, wherein the opposite end of the tubular body
ing the fabric material; and the layers are bonded as a unitary is threaded so as to connect to a garden -type hose , and
structure by strike -through columns of elastomeric material further includes an elongated flexible nylon cable that is
extending through said substantial space with the alternating fixedly secured to a boss member formed in the internal wall
crests and troughs having a controlled wall thickness 30 of the tubular body, whereby the cable is formed with a
throughout which assures the controlled flexibility, and the length so as to be readily positioned within the full length of
crests and troughs having been formed with the elastomeric          the hose .
layers in a semi- cured condition to assure said controlled            Igarashi U.S. Pat . No. 5,264,262 discloses a refrigerant
wall thickness thereof.                                              transporting hose having a laminar structure including an
   Home , U.S. Pat . No. 4,276,908 discloses a thermoplastic 35 inner tube consisting of at least one layer, an outer tube
hose is disclosed in which a reinforcement layer is made disposed radially outwardly of and coaxially with the inner
from a combination of yarns and monofilaments to provide tube, and a reinforcing fiber layer interposed between the
stereo interstices where mechanical bonds between the rein- inner and outer tubes. The inner tube includes a resin layer
forcement and its adjacent element of the hose can be formed of a resin composition .
established .                                                     40    Mezzalira , U.S. Pat . No. 5,477,888 discloses a hose ( 10 )
   Piccoli et al . , U.S. Pat . No. 4,553,568 discloses a flexible which comprises at least one tubular layer ( 3 ) of plastic or
hose adapted to regain its original shape after crushing due rubber material, a mesh - network ( 4 ) of the chain type
to a novel braided - spiral reinforcement layer containing one presenting mesh lines ( 5 ) and mesh rows ( 6 ) having a tubular
braid member which is a relatively stiff, uncrimped mono- shape being wound on the external surface of said inner
filament and a second braid member which is a flexible 45 layer, a possible external layer ( 7 ) , and is characterized in
textile material crimped around the stiff monofilament at that said mesh rows are slanted in relation to the longitudinal
each contact point in the braided spiral layer. The braided axis of the hose . According to a preferred embodiment the
spiral imparts improved crush and kink resistance to the lines ( 5 ) of said meshes are slanted in relation to the
hose structure . This hose is particularly useful as a gasoline longitudinal axis Y of the hose , following a direction oppo
pump dispensing hose which is subject to frequent crushing 50 site to the direction of the mesh rows (6 ).
by vehicle wheels during service .                                   Kanao , U.S. Pat . No. 5,555,915 discloses a cleaner hose
  Champleboux, U.S. Pat . No. 4,895,185 discloses a device        includes a hose body, connection cylinders to be connected
with flexible hose , particularly for an expandable packer,       to a cleaner operating pipe and a cleaner body, respectively,
wherein hose is reinforced by armature layers made of             which are connected to ends of the hose body, respectively,
flexible cables disposed helically and is attached at least at 55 and a reinforcement wire material wound in the hose body
one end by compression of said layers against rigid pieces, spirally and continuously over the whole length of hose
characterized by the supporting elements and gripping ele- body. The reinforcement wire material is shaped like a
ments, which are coaxial , having non - adhesive conical com- steeply slanted spiral in a predetermined length portion near
pression surfaces which diverge toward the end and by at one of or both of the ends of the hose body so that adjacent
least one wedge provided with slits being driven between 60 spiral portions of the reinforcement wire material are close
reinforcing layers to ensure compression.                         to each other while a hose wall of the hose body is loosened
   Walton et al . , U.S. Pat . No. 4,989,643 discloses a high toward the inner circumferential surface . On the other hand,
performance composite hose having enhanced durability, the reinforcement wire material is shaped like a gently
reliability and longevity for use in high pressure, high slanted spiral in an intermediate portion except the one of or
temperature and / or vibrational environments such as turbo- 65 both of the ends of the hose body so that adjacent spiral
charged truck , bus , automobile , marine and generating portions of the reinforcement wire material are separated
engines. The composite hose comprises one or more plies of from each other in the direction of a pipe axis .
  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 12 of 18. PageID #: 1218


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  Grieve et al . , U.S. Pat . No. 5,607,107 discloses a retract-      tubing member, each having an outer surface and extending
able conduit formed from a sheet of memory - set polyester.           axially from a forward distal end to a rearward distal end .
To manufacture the memory - set strip , the polyester sheet is           Ericksen, U.S. Pat. No. 6,568,610 discloses a flexible
wound into a desired coiled position . It is then heated and          water spray wand for connection to a standard garden hose ,
cooled in a manner to memory -set the sheet in a coiled form . 5 having a housing connectable at a lower end to the garden
After this process the sheet of polyester will automatically hose and at an upper end to a flexible tube assembly
return to the coiled condition after it has been uncoiled . In connected at an opposite end to a spray nozzle . The pistol
one form , suitable as a splash block , the distal end of the grip housing includes a water flow control valve such as a
polyester sheet is wider than the end attachable to a down trigger      mechanism operatively connected to a water valve
spout. In another form the polyester sheet is sheathed in an 10 for controlling     the flow of water from the nozzle of the
elongated polyethylene tube , to form a retractable hose . In a wand .
preferred form , the distal end of the hose is supported on a
spool which will roll along the ground as the hose is wound selfRagner     et al . , U.S. Pat . No. 6,948,527 discloses a linearly
                                                                    -actuated hose for use in transporting fluids ( liquids,
and unwound to further ensure that the hose retracts prop
erly. The tube can also be provided with holes to act as a 15 gases, solid particles, and combinations of these three).
                                                              Hoses ( 30) and (30b ) have a biasing spring ( 36 ) extends
sprinkler if desired .
  Carter, U.S. Pat . No. 5,816,622 discloses a protective       along the full length , and can comprise single or multiple
sleeve for a garden hose includes a protective shell section    springs and / or multiple diameter spring coils . Spring ( 36 ) is
having a generally tubular body with an inner bore shaped       covered with hose cover material ( 32 ) on the outside and
for receiving a coupling of the garden hose snugly therein . 20 hose cover material (34 ) on the inside to form a sealed hose
A flexible strain relief section is releasably attached to the and are bowed inward or outward radially between the
shell section wherein the flexible strain relief section has a individual spring coils depending on the intended use of
generally tubular body. A locking member of the strain relief hose (30 ) or ( 30b ), respectfully to give the cover materials
section releasably attaches the strain relief section to the room to move out of the way when the hose retracts and the
shell section . The locking member is receivable within an 25 coils of spring (36 ) are forced close together.
opening formed in the body of the shell section . The locking       Weyker, U.S. Pat. No. 6,955,189 discloses a garden hose
member is resiliently movable from a relaxed condition in assembly includes an elongated and flexible tubular member
which it extends through the opening and engages the body that includes an open first end, an open second end and a
of the shell section for preventing axial movement of the peripheral wall extending between the first and second open
strain relief section away from the shell section , to an 30 ends. A cross - section taken traversely to a longitudinal axis
inwardly flexed position in which the locking member flexes of the tubular member has a generally oblong shape when
inwardly out of the opening and disengages the body of the the tubular member is filled with a fluid and a substantially
shell section for allowing relative axial movement between flattened shape when the tubular member is not filled with a
the shell and strain relief sections . The strain relief section fluid . The tubular member has an outer surface colored a
has an outer surface that defines a gripping surface for 35 fluorescent color. A threaded female coupler is fluidly
facilitating the attachment of the garden hose with another coupled to the first end and a threaded male coupler is fluidly
garden hose.                                                     coupled to the second end.
   Horst et al . , U.S. Pat . No. 5,894,866 discloses a garden      Ragner, U.S. Pat. No. 7,549,448 discloses a linearly
hose assembly is provided and comprises holding means self -actuated hose for use in transporting fluids ( liquids,
comprising at least a portion of such hose assembly with the 40 gases , solid particles, and combinations of these three ). Hose
holding means and portion being adapted to be coiled (30 ) has a biasing spring (36 ) that extends along its full
around an associated support for holding the portion at a length , and can comprise single or multiple springs and / or
desired position to enable use of the hose assembly in a multiple diameter spring coils . Spring (36 ) is covered with
hands - free manner.                                            hose cover material ( 32 ) on the outside and hose cover
  Fujimoto , U.S. Pat . No. 6,024,132 discloses a flexible 45 material ( 34 ) on the inside to form a sealed hose and are
hose comprises a bellows hose wall 1 composed of an inner bowed inward or outward radially between the individual
wall 2 and an outer wall 3 each made of a soft resin and a       spring coils depending on the intended use of hose ( 30 ) to
spiral hard reinforcement 4 interposed there between . As the give the cover materials room to move out of the way when
hose contracts, a spiral groove 7 is formed inside of the hose . the hose retracts and the coils of spring (36 ) are forced close
The inner wall 2 is not partially bonded or fused with the 50 together.
outer wall 3 and the hard spiral reinforcement 4 to form           Ragner et al . , U.S. Pat. No. 8,776,836 discloses a hose
unbonded sites or fragments 8. As the hose contracts, the (70 ) having a biasing spring (76 ) along the full length .
unbonded fragments 8 are separated from the outer wall 3 Spring ( 76 ) is covered with the hose cover material (72 ) on
and the spiral hard enforcement 4 and move to the inward the outside and hose support layer ( 74 ) and hose sealing
direction of the hose , and close the spiral groove 7. There- 55 layer (72 ) on the inside to form a sealed hose . The invention
fore, even a fluid flows to any longitudinal direction, the comprises the improvement of the hose body ( layers (72 ) ,
flexible hose reduces a flow resistance .                        (74 ) , and ( 75 ) ) by defining the layers as bowed inwardly
   Akedo et al . , U.S. Pat. No. 6,024,134 discloses a lami- radially between the individual spring coils to create a
nated tape comprising a main layer of a polyester - series helical indentation (74b ) around hose ( 70 ) . This helical
thermoplastic polyurethane resin and a covering layer 60 indentation (74b) causes the hose body materials ( layers
formed of a soft vinyl chloride resin fused with at least one (72 ) , ( 74 ) , and (75 ) ) move inward radially when hose ( 70 ) is
surface of the main layer is spirally wound , and its adjacent retracted and the coils of spring (76 ) are forced close
side edges are bonded each other to form a hose wall .           together longitudinally. Thus , layers ( 72 ) , ( 74 ) , and ( 75 ) are
  Wells et al . , U.S. Pat. No. 6,098,666 discloses a tubing folded substantially with spring ( 76 ) when retracted , greatly
assembly for conveying fluid under pressure such as from a 65 reducing the volume of the hose (70 ) in its retracted position
source of air pressure in a vehicle to an airbrake system of          and substantially protecting ( 72 ) , ( 74 ) and ( 75 ) from damage
the vehicle . The assembly includes a flexible first and second       by abrasion and puncture .
  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 13 of 18. PageID #: 1219


                                                    US 10,890,278 B2
                              7                                                                   8
            SUMMARY OF THE INVENTION                              FIG . 7 is a perspective view of a male coupler secured to
                                                               an end of the hose of the present invention when the hose is
  A hose which automatically expands longitudinally and in its extended condition ; and
automatically expands laterally upon the application of a 5 FIG . 8 is a perspective view of a female coupler secured
pressurized liquid within the hose is disclosed . The hose can to an end of the hose of the present invention when the hose
expand longitudinally up to six times its unexpanded or is in its contracted condition .
contracted length and can expand laterally up to six times its             DETAILED DESCRIPTION OF THE
unexpanded width . Upon release of the pressurized liquid                               INVENTION
within the hose, the hose will automatically contract to a 10
contracted condition . The hose includes an expandable inner  While the present invention is susceptible of embodiment
tube made from an elastic material and a separate, distinct         in various forms, there is shown in the drawings and will
outer tube made from a non - elastic material, positioned hereinafter            be described presently preferred, albeit not
around the outer circumference and length of the inner tube limiting , embodiment             with the understanding that the pres
and secured  to the inner tube only at the first and second end. 15 ent disclosure   is to be considered an exemplification of the
The outer tube is unattached , unconnected, unbonded , and present invention and is not intended to limit the invention
unsecured to the inner tube along the entire length of the to the specific embodiments illustrated .
inner tube, between the first end and the second end , so that         FIGS . 1-8 , which are now referenced , illustrate the pres
the outer tube can move freely with respect to the inner tube      ent invention and the manner in which it is assembled . FIGS .
along the entire length of the inner tube between the first end 20 1 and 3 illustrate a preferred embodiment of the expandable
and the second end.                                                and contractible hose of the present invention . The hose is
  Accordingly, it is an objective of the present invention to      self -expanding upon application of a pressurized liquid and
provide a hose that expands longitudinally and expands increased fluid volume within the hose . The hose is also
laterally upon the application of a pressurized liquid within self - contracting upon release of the pressurized liquid and
the hose .                                                      25 fluid volume from within the hose . The hose 10 is composed
   It is a further objective of the present invention to provide of two separate and distinct tubes 12 and 14. The inner tube
a hose that automatically contracts upon release of a pres tion    14 is formed from a material that is elastic with an elonga
surized liquid within the hose. The contracted length being              ratio of up to 6 to 1 and can expand up to 4 to 6 times
up to six times shorter that an expanded length .                  its relaxed or unexpanded length when a pressurized liquid
  It is yet another objective of the present invention to 30 material
                                                             is introduced into the elastic inner tube 14. A preferred
                                                                      for the inner tube 14 is natural latex rubber.
provide a hose that is relatively light compared to a non          However, other synthetic materials, which have elastic prop
expanding /non -contracting hose.                                  erties similar to natural latex rubber, specifically, the ability
  It is a still further objective of the present invention to  to automatically retract from a stretched or expanded state ,
provide  a hose that
itself when in use .
                     will not kink or become entangled upon 35 can also be used. Upon application of pressurized liquid into
                                                                 the inner tube, the elastic inner tube 14 expands radially
  It is a still further objective of the present invention to    outwardly or laterally, with respect to its length , within the
provide a hose including indicia, such as words, on an outer     outer tube . The radial expansion of the inner tube 14 is
tube or sleeve .                                                 constrained by the maximum diameter of the non - elastic
  It is a still further objective of the present invention to 40 outer tube 12. The outer tube 12 is formed from a non
provide a hose that can be readily coupled and uncoupled to elastic , relatively soft, bendable, tubular webbing material.
a source of water such as a faucet on a house .               The preferred materials used to form the non - elastic outer
   Other objects and advantages of this invention will tube 12 are braided or woven nylon , polyester, or polypro
become apparent from the following description taken in pylene. Other braided or woven materials can also be
conjunction with any accompanying drawings wherein are 45 employed to form the outer tube 12. The requirements of the
set forth , by way of illustration and example, certain outer tube 12 material are that it be soft, bendable, non
embodiments of this invention . Any drawings contained elastic , and strong enough to withstand internal pressures of
herein constitute a part of this specification and include up to 250 pounds per square inch, (psi ) .
exemplary embodiments of the present invention and illus-       The hose 10 includes a female coupler 18 at a first end
trate various objects and features thereof.                50 thereof and a male coupler 16 at a second end thereof. The
                                                              male coupler 16 includes a threaded portion 20 , a mid
       BRIEF DESCRIPTION OF THE FIGURES                            portion 22 , and a portion 24 onto which are secured the inner
                                                                   tube 14 , the outer tube 12 , and an expansion restrictor sleeve
   FIG . 1 is a longitudinal side view of the present invention 26. The inner tube 14 , the outer tube 12 , and the expansion
in a contracted position ;                                     55 restrictor sleeve 26 are secure to the male coupler as will be
   FIG . 2 is a cross section view of the present invention described herein after.
taken along line 2-2 in FIG . 1 ;                                    The female coupler 18 includes a threaded portion 28 on
   FIG . 3 is a longitudinal view of the present invention in the interior of the female coupler, FIGS . 1 , 3 , and 8. The
an expanded position;                                             threaded portion 28 is constructed to receive the male
   FIG . 4 is a cross sectional view of the present invention 60 threads 20 and enable coupling of one hose to another. The
taken along line 4-4 in FIG . 3 ;                                 threaded portion 28 is also constructed to couple to a faucet
  FIG . 5 is a cross sectional view , perspective view of a or a water outlet on the exterior or interior of a house or
section of the hose of the present invention taken along line residence. Most water faucets on homes or residences are
4-4 in FIG . 3 ;                                               provided with a standard size male coupler or fitting. Most
  FIG . 6 is a cross sectional view , perspective view of a 65 conventional garden hoses or other hoses are provided with
section of the hose of the present invention taken along line a standard size female coupler or fitting which will engage
2-2 in FIG . 1 ;                                               and couple the hose 10 to the faucet or water outlet. The
  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 14 of 18. PageID #: 1220


                                                     US 10,890,278 B2
                               9                                                                     10
inner tube 14 , the outer tube 12 , and the expansion restrictor of the hose . The pressure within the hose is accomplished by
sleeve 27 are secure to the female coupler 18 as will be introducing liquid under pressure into one end of the hose
described herein after. In the preferred embodiment the and restricting the flow of the liquid out of the other end of
female coupler 18 also includes a washer 29 which helps to the hose, resulting in the liquid filing up and expanding the
provide a fluid tight connection between the male and 5 inner tube 14 .
female couplers or any other male or female coupler.                      For example, when the hose 10 of the present invention is
   During assembly, the non - elastic outer tube 12 is attached utilized as a garden hose around a house , coupler 18 is
and connected to the inner tube 14 only at the first end and secured to a faucet or water outlet on an exterior wall of the
second end by the male coupler 16 and the female coupler house . The faucet is turned on or opened so that water under
18 , The outer tube 12 is unattached , unconnected , unbonded , 10 pressure can now enter the hose 10. A relatively normal
and unsecured to the elastic inner tube 14 along the entire pressure for water within a house is 60 psi . However, the
length of the inner tube 14 , between the two couplers , and pressure of water within a hose can vary widely, depending
thus the outer tube 12 is able to move freely with respect to on a number of circumstances, such as , the pressure of water
the inner tube along the entire length of the inner tube 14 , supplied by a water utility, the pressure of water supplied by
between the couplers , when the hose expands or contracts . 15 a pump and sustained by an air bladder, when water is
   The hose 10 of the present invention is illustrated in its supplied from a well , etc. A nozzle or other distributor can
contracted condition in FIGS . 1 , 2 , 6 , and 8. In this condi- be secured to male coupler 16 at the opposite end of hose .
tion, the elastic inner tube 14 is in a relaxed contracted The nozzle can be a conventional nozzle which varies the
condition wherein there are no forces being applied to the rate and spray pattern of water exiting from the nozzle .
inner tube 14 to expand or stretch it . Also , it should be noted 20 Many nozzles are L -shaped so as to be able to be comfort
that the outer tube 12 will not be in contact with the inner ably gripped and used by an individual. These nozzles also
tube 14 when the hose is in this contracted condition . There have a pivoting on - off handle which operates an internal
will be a space 15 between the inner tube 14 and the outer valve . This internal valve permits, limits , and stops the flow
tube 12 (FIG . 6 ) . As illustrated in FIG . 6 , the thickness of the of water through the nozzle , to generate a build - up of liquid
wall of the inner tube 14 , in the contracted position , is 25 within the hose body between the two couplers .
relatively large compared to the thickness of the inner tube              The nozzle provides various amounts of restriction to the
14 , in the expanded position, FIG . 5. The expansion of the liquid exiting at the end of the hose depending on how large
elastic inner tube 14 laterally, is the result of an increase in the opening in the nozzle is . The smaller the opening in the
the pressure and volume of the liquid within the inner tube nozzle , the more the nozzle restricts the release of liquid at
14. This increase in pressurized liquid and volume in the 30 the end of the hose , and the higher the pressure and volume
inner tube 14 also results in the expansion of the length of of liquid inside the hose . The larger the opening in the
the elastic inner tube 14. The expansion of the inner tube 14 , nozzle , the less the nozzle restricts the release of liquid at the
both laterally and longitudinally, results in a decrease in the end of the hose , and the lower the pressure and volume of
wall thickness of the inner tube, an increase in the diameter liquid inside the hose. The pressure coming from a typical
of the inner tube thus increasing the volume of liquid that 35 house is approximately 60 psi . If the flow of liquid at the
can flow through the inner tube 14. This decrease in wall other end of the present invention was totally restricted, the
thickness is clearly illustrated in FIG . 5 , wherein the inside psi inside the inner tube would be the same as the pressure
diameter of the inner tube has been expanded and extended coming from the house , 60 psi . At this high pressure , the
because of an increase of the pressurized liquid and volume inner tube 14 and the outer tube 12 in the present invention
within the inner tube 14 .                                           40 would expand to its maximum length of fifty feet. As the
   The outer tube 12 is preferably constructed of a non- liquid at the end of the hose is released , the pressure
elastic , soft tubular webbing. The webbing is made from a becomes reduced inside the hose and the hose contracts
strong braided or woven nylon , polyester, or polypropylene slightly based on the decrease in internal pressure , but the
fabric or any other tubular braided of woven , non - elastic hose remains fully expanded in its operational state , distrib
fabric which can withstand an internal pressure of up to 250 45 uting water through its sprayer. The present invention will
psi . In the expanded or extended condition of the hose 10 of fully expand even when the pressure provided into the
the present invention , FIGS . 3-5 , the inner tube 14 is female end is below the typical pressure of 60 psi coming
expanded or stretched . In this expanded condition the non- from a house .
elastic outer tube 12 constrains the lateral expansion of inner           In one example, the water pressure coming from the house
tube 14 , as illustrated in FIGS . 3 and 5. The outer tube 12 is 50 was 60 psi and the water pressure at the nozzle on the other
also taunt, smooth , and relatively flat along its length in this end of the hose was 35 psi , from the fluid dynamics of water
extended condition , note FIGS . 3 and 5. Since the outer tube flowing through an open but partially restricted hose . Even
12 is non -elastic , the length and width of the outer tube 12 with this pressure drop along the length of the hose 10 from
determines the length and width of the hose 10 in its 60 psi to 35 psi , the pressure is enough to cause the inner
expanded condition . Thus, the diameter and length of the 55 tube 14 to expand laterally and longitudinally until its lateral
outer tube 12 determines the diameter and length of the hose and longitudinal expansion became constrained by the non
of the present invention upon the application of pressurized elastic outer tube 12 and expanded to the maximum length
liquid to the interior of the elastic inner tube 14. This and width of the non - elastic outer tube 12. In a preferred
diameter and length of the non - elastic outer tube is the final embodiment, the hose 10 expands from ten feet in length in
diameter and the final length of the hose 10 when it is in its 60 its contracted condition to fifty feet in length in its expanded
expanded condition and in use to transport or deliver a condition .
liquid , such as water.                                                   FIGS . 7 and 8 illustrate how male and female couplers 16
   In a preferred embodiment of the present invention the and 18 respectively are secured to the hose of a preferred
hose 10 expands up to 4 to 6 times its contracted length embodiment of the present invention . In FIG . 7 the male
during operation. Thus, a ten - foot hose in a contracted 65 coupler 16 includes a plurality of threads 20. The male
condition would expand up to 40 to 60 feet when liquid coupler 16 also includes a tubular extension 32 which
under pressure is supplied to the interior of the inner tube 14 extends into the interiors of the inner tube 14 , the outer tube
  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 15 of 18. PageID #: 1221


                                                    US 10,890,278 B2
                              11                                                                  12
12 and the expansion restrictor sleeve 26. The tubular              dragged, easily handled and easily used by anyone who uses
extension 32 has a hollow interior 34 through which fluids the hose but especially by individuals who do not posses
can flow . A securing device 34 encompasses the outer sleeve exceptional strength or do not want to drag, carry or lug
26 , the outer tube 12 , and the inner tube 14 and secures these around heavy, bulky, conventional rubber hoses.
elements to the tubular extension 34. A separate flow restric- 5 Another feature of the present invention is that the outer
tor 37 is illustrated within coupler 16. Other types of flow tube 12 is reduced or decreased in length when there is no
restrictors, such as hose nozzles , sprayers, etc. can also be pressure within inner tube 14. With no pressure or volume
employed. Anything that controls the release of the liquid in the elastic inner tube 14 the inner tube automatically
exiting the hose can be employed. As can be seen in FIG . 7 , contracts . The condition of the outer tube 12 when the inner
the outer tube 12 is relatively smooth , the inner tube wall is 10 tube 14 is in the contracted condition is illustrated in FIGS .
relatively thin , compared to its thicker contracted condition 1 , 2 and 6. Because the outer tube is unconnected, unat
and the expansion restrictor sleeve 26 is restricting the tached , unsecured, or unbonded to the inner tube along the
expansion of the inner and outer tubes at the junction of the entire length of the hose between the first end and the second
securing device 34. Without the sleeve 26 , the inner tube end , the soft fabric material of the outer tube 12 can move
would immediately expand outwardly in a step function and 15 freely with respect to the inner tube. The fact that the outer
probably rupture . The sleeve 26 permits the inner tube 14 to tube 12 can move freely with respect to the inner tube 14
gradually expand and taper outwardly, thus preventing rup- along the entire length of the hose 10 enables the outer tube
turing of the inner tube at this junction . Other types of 12 to become folded, compressed and gathered around the
connections, such as clamping and swaging can also be outside of the circumference of the inner tube 14 along its
employed to secure the male coupler to the inner tube 14 , the 20 length in the contracted condition when there is not pres
outer tube 12 , and the sleeve 26. By using other types of surized liquid within the inner tube 14. The flexibility of the
connections, an expansion restrictor sleeve may not be outer tube 12 to become folded , compressed and gathered
needed.                                                            condition of the outer tube 12 helps prevent the hose 10 from
   FIG . 8 illustrates the female coupler 18 secured to the kinking and also helps prevent it from becoming entangled
hose of the present invention . The hose in FIG . 8 is in the 25 upon itself. Thus, an empty hose 10 in the contracted
contracted condition . The female coupler 18 is provided condition is easily stored without worry of the hose kinking
with a plurality of internal threads 28. The threads 28 are         or becoming entangled, as most conventional hoses do ,
designed to interact and cooperate with complementary               because the elastic inner tube and the outer tube are very
threads 20 on a male coupler to provide a fluid tight flexible . This tendency of the hose 10 to not become kinked
connection between the male and female couplers 16 and 18. 30 or entangled enables a user to store the hose 10 in a very
The female coupler 18 also includes a tubular extension 36 small space with no worry of having to untangle or unkink
which extends into the interiors of the inner tube 14 , the         the hose when it is removed from storage and used . A user
outer tube 12 and the expansion restrictor sleeve 27. The           of the present invention can take hose 10 from a stored
tubular extension 36 has a hollow interior 38 through which         condition, secure a nozzle or other flow restrictor on one end
fluids can flow . A securing device 40 encompasses the outer 35 of the hose , secure the hose 10 to a water faucet and turn on
sleeve 27 , the outer tube 12 , and the inner tube 14 and the water without the fear of the hose becoming entangled or
secures these elements to the tubular extension 36. As can be       kinked or without the need to untangle or unkink the hose .
seen in FIG . 8 , the soft fabric outer tube 12 is not smooth ,       After they are used conventional garden hoses are nor
but folded , compressed and gathered around the circumfer- mally carried or dragged back to their place of storage and
ence of the inner tube 14 , the inner tube 14 wall is relatively 40 they are stored on a reel or coiled up upon themselves and
thick, compared to its extended condition and the sleeve 27 laid on a flat surface. This requires time to carry and drag the
is not restricting expansion of the inner and outer tubes at the hose and to properly store the hose and also requires an
junction of the securing device 40. Without the sleeve 27 , the expense to purchase the hose reel. The hose 10 of the present
inner tube 14 would immediately expand outwardly in a step invention automatically and quickly contracts to its original
function and probably rupture upon the application of pres- 45 place of storage and can then be easily folded up , rolled up ,
surized liquid to the interior of hose 10. The sleeve 27 or coiled up and stored in any container, even very small
permits the inner tube 14 to gradually expand and taper containers , or on any surface, thus saving time and expense
outwardly, thus preventing rupturing of the inner tube at this for the owner of the hose .
junction . Other types of connections, such as clamping and           FIGS . 5 and 6 illustrate a preferred embodiment of the
swaging can also be employed to secure the female coupler 50 present invention . During the assembly of the hose in the
to the inner tube 14 , the outer tube 12 , and the sleeve 27. By preferred embodiment a ten - foot elastic inner tube 14 in its
using other types of connections, an expansion restrictor relaxed or contracted condition is inserted into the hollow
sleeve may not be needed .                                        interior of a 50 - foot non- elastic outer tube 12. The ten - foot
   Another feature of the present invention is the savings in inner tube 14 and the 50 - foot outer tube 12 and the expan
weight of the hose . The hose 10 in its contracted condition 55 sion restrictor sleeve 27 are then all attached and secured
is relatively light and after it is expanded up to 4 to 6 times , together on a coupler at the first end. The ten - foot inner tube
the weight of the hose does not increase . Also , because the is then stretched or expanded through the hollow interior of
hose does not contain any metal components such as springs , the outer tube 12 until the elastic inner tube 14 is expanded
wire mesh or other metal parts along the entire length of the to 5 times its relaxed or contracted length . At this point in the
hose between the male connector and the female connector 60 assembly process the expanded elastic inner tube 14 and the
a ten - foot contracted hose may only weigh less than 2 non - elastic outer tube 12 are both clamped down and the
pounds and in the expanded condition , (not counting the inner tube 14 and the outer tube 12 are both 50 feet long . The
weight of the liquid inside the expanded hose ) the fifty - foot inner tube 14 , and the outer tube 12 and the expansion
hose would also only weigh less than 2 pounds . In contrast restrictor sleeve 27 are then attached and secured together to
however, a conventional rubber 1/2 inch ID 50 - foot hose 65 the coupler at the second end while the hose is still in the
could weigh up to 12 pounds . This savings in weight enables expanded condition . As previously stated, the elastic inner
the hose of the present invention to be easily carried , easily tube 14 and the non- elastic outer tube 12 are only attached
  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 16 of 18. PageID #: 1222


                                                     US 10,890,278 B2
                              13                                                                   14
and secured together at the first end and the second end . The     centimeters. The outer circumference of the hose 10 is 2
inner tube 14 and the outer tube 12 are unattached,                inches or 5.08 centimeters. The diameter of the outer tube 12
unbonded , unconnected and unsecured along the entire              is 0.4 inches or 1.02 centimeters . The inside diameter (ID )
length of the hose between the first end and the second end        of the inner tube 14 is , 0.25 inches or 0.635 centimeters. The
so as to allow the inner and outer tubes to move relative to 5 outside diameter (OD ) of the inner tube 14 is 0.375 . The
each other between the couplers. This allows the non- elastic thickness of the wall of the inner tube 14 is 0.125 inches or
outer tube 12 to move freely with respect to the inner tube 0.317 centimeters . The thickness of the outer tube 12 is
14 along the entire length of the hose between the couplers 0.031 inches or 0.079 centimeters.
on the first end and the second end .                                The outer tube 12 is relatively smooth in the expanded
   When the clamp is removed at the second end from the 10 condition, as seen in FIGS . 3 and 5. This smooth surface
expanded 50 - foot elastic inner tube 14 and the 50 foot enables the hose 10 to be used and manipulated with relative
non- elastic outer tube 12 , the expanded elastic inner tube 14 ease . In addition , the expanded elastic inner tube 14 and the
automatically contracts within itself back to its original smooth surface of the outer tube 12 prevents the hose from
relaxed length of ten feet. The length of the 50 - foot non- kinking. Also , the smooth surface enables indicia to be
elastic outer tube 12 is also reduced to only ten feet in the 15 placed on the outer surface . An example of this indicia is
contracted condition because when the stretched and illustrated in FIG . 5 , the words “ Magic Hose ” . All types of
extended elastic inner tube 14 contracts from its expanded indicia can be placed on the exterior of the outer tube 12 ,
length , the unattached , unbonded , unconnected and unse- such as letters, numbers, patterns, designs, and / or pictures .
cured soft fabric non - elastic outer tube 12 is contracted by     Any type of indicia that can be affixed to the outer tube 12
the couplers pulling together, as this happens , the outer 20 can be used . The indicia can be any color also including
fabric also catches on the rubbery elastic inner tube 14           black or white . The material from which the outer tube 12 is
material causing the outer tube 12 to become folded, com-          formed can also be any color.
pressed and gathered relatively evenly around the outside            The preferred embodiment of the present invention uti
circumference along the entire length of the contracted inner lizes water to fill and expand the hose 10. However, other
tube 14 , as opposed to bunching only at the far end of the 25 liquids can also be employed with the present invention , so
inner tube 14. Thus, because the 50 - foot non- elastic outer long as the liquids are not corrosive to the inner tube 14. The
tube 12 has many folds that are compressed and gathered temperatures of the liquids employed in the present inven
around the 10 - foot contracted and relaxed inner tube 14 , the tion are lower than temperatures which will alter the physi
folded , compressed and gathered 50 - foot outer tube 12 cal and chemical properties of the materials used in the hose
measures the same 10 - foot length as the 10 - foot contracted 30 of the present invention. Also , because the inner tube 14 is
inner tube 12 .                                                   elastic it can expand if the water within the tube freezes. For
  When a pressurized liquid is introduced into the elastic example, if a garden hose of the present invention were left
inner tube 14 in the contracted and relaxed                 the    outside in the       er, the water contained therein would
elastic inner tube 14 begins to expand laterally and longi- freeze. Normal garden hoses would split , but the present
tudinally and the outer tube 12 begins to unfold and uncom- 35 invention would expand when the water turns to ice because
presses around the circumference of the elastic inner tube         the inner tube is elastic .
14. Consequently, when the inner tube 14 expands to its               All patents and publications mentioned in this specifica
maximum length of 50 feet, the outer tube 12 unfolds, and tion are indicative of the levels of those skilled in the art to
uncompresses along the entire length of the inner tube 14 which the invention pertains. All patents and publications
until it reaches the same 50 - foot length as the inner tube 14 40 are herein incorporated by reference to the same extent as if
in the expanded condition. Also , because the inner tube 14 each individual publication was specifically and individually
expands both longitudinally and laterally and its expansion indicated to be incorporated by reference.
is constrained by the non - elastic outer tube 12 , the inner tube    It is to be understood that while a certain form of the
14 fills all the available space inside the non- elastic outer invention is illustrated , it is not to be limited to the specific
tube 12 and thus the surface of the unfolded, uncompressed 45 form or arrangement herein described and shown . It will be
outer tube 12 becomes smooth in the expanded condition as apparent to those skilled in the art that various changes may
depicted in FIG . 5 .                                              be made without departing from the scope of the invention
   The hose in FIG . 5 is shown in its expanded condition and the invention is not to be considered limited to what is
after a liquid under pressure has been introduced into the shown and described in the specification and any drawings/
hose and the pressure and volume of the liquid has increased 50 figures included herein .
inside the inner tube 14. The expanded length of the hose 10          One skilled in the art will readily appreciate that the
is now 50 feet, 600 inches , or 15.24 meters . The volume of present invention is well adapted to carry out the objectives
fluid within the hose 10 is 0.943 gallons , 120 ounces , 3.569 and obtain the ends and advantages mentioned, as well as
liters , or 3180.64 cubic centimeters. The outer circumfer- those inherent therein . The embodiments, methods, proce
ence of the hose 10 is 2.12 inches or 5.39 centimeters. The 55 dures and techniques described herein are presently repre
diameter of the outer tube 12 is 0.68 inches or 1.73 centi-        sentative of the preferred embodiments , are intended to be
meters . The diameter of the inner tube 14 is 0.64 inches or       exemplary and are not intended as limitations on the scope .
1.63 centimeters. The thickness of the wall of the inner tube      Changes therein and other uses will occur to those skilled in
14 is 0.031 inches or 0.079 centimeters. The thickness of the      the art which are encompassed within the spirit of the
outer tube 12 is 0.031 inches or 0.079 centimeters. The 60 invention and are defined by the scope of the appended
thickness of the outer tube 12 remains the same in both the        claims . Although the invention has been described in con
expanded and contracted conditions . The material from             nection with specific preferred embodiments, it should be
which the inner tube 14 is formed can be any color. The hose       understood that the invention as claimed should not be
in FIG . 6 is in its contracted condition and its dimensions are   unduly limited to such specific embodiments. Indeed , vari
as follows. The length of the hose is 10 feet, 3.33 yards, or 65 ous modifications of the described modes for carrying out
3.05 meters . The volume of liquid within the hose 10 is         the invention which are obvious to those skilled in the art are
0.025 gallons , 3.2 ounces , 0.094 liters, or 94.635 cubic       intended to be within the scope of the following claims .
  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 17 of 18. PageID #: 1223


                                                   US 10,890,278 B2
                             15                                                                 16
  What is claimed is :                                               8. The garden hose of claim 1 including indicia on said
  1. A garden hose comprising:                                     outer tube .
  a flexible elongated outer tube constructed from a fabric          9. The garden hose of claim 8 wherein said indicia is
     material having a first end and a second end, an interior recognizable when said hose is in said extended condition
     of said outer tube being substantially hollow, said 5 and said indicia is not recognizable when said hose is in said
     flexible elongated outer tube having a maximal length ; retracted condition .
  a flexible elongated elastic inner tube having a first end      10. The garden hose of claim 1 wherein said flow restric
     and a second end, an interior of said inner tube being tor11.is integrally
                                                                       The
                                                                                 formed with said second coupler.
                                                                            garden hose of claim 1 wherein said flow restric
     substantially hollow, said elastic inner tube having a
     relaxed length when said inner tube is not extended , 10 tor12.is aThe
                                                                         nozzle which is removeably secured to said hose .
                                                                             garden hose of claim 7 wherein said first and
     said inner tube relaxed length being less than said outer second securing    devices extend around an outer circumfer
     tube maximal length ;                                      ence of said hose .
  a first coupler secured to said first end of said inner tube    13. The garden hose of claim 1 wherein said hose is a
     and said outer tube , said first coupler constructed to 15 garden hose .
     couple said hose to a conventional facet thereby pro         14. The garden hose of claim 1 wherein said inner tube
     viding pressurized water ;                                    and said outer tube are made from flexible materials which
  a second coupler secured to said second end of said inner        will not kink when said inner and said outer tubes are in their
     tube and said outer tube, said inner tube is unsecured to     contracted condition .
     said outer tube between said first and second ends so 20 15. A method of transporting water through a garden hose
     that said outer tube outer tube can move freely over said comprising:
     inner tube; and                                             forming an expanding hose, said expanding hose includ
  a flow restrictor coupled to said second coupler,                    ing a non - elastic , bendable elongated outer tube having
  whereby upon introduction of a flow of pressurized water             a first end and a second end, an interior of said outer
    through said first coupler into said inner tube and 25             tube being substantially hollow , said expanding hose
    operation of said flow restrictor to at least partially            including an expandable, elastic elongated inner tube
    block said flow of pressurized water from exiting said             having a first end and a second end, an interior of said
    inner tube , said inner tube fills with pressurized water          inner tube being substantially hollow, said elastic inner
    resulting in an increase in water pressure within said             tube positioned within said substantially hollow outer
    inner tube interior, said increase in water pressure 30            tube;
    expands said inner tube longitudinally along a length of         securing a first coupler to said first end of said inner and
     said inner tube and laterally across a width of said inner         said outer tubes;
     tube thereby increasing said hose to an expanded                securing a second coupler to said second end of said inner
     condition, and whereby stopping said flow of pressur              and said outer tubes , said inner and said outer tubes
     ized water into said first coupler and releasing said 35          being secured to each other only at said first and said
     pressurized water out of said second coupler results in           second ends and unsecured to each other between said
     said hose contracting to a decreased length as a result           first and said second ends;
     of an automatic contraction of said elastic inner tube .        connecting said first coupler to a source of pressurized
  2. The garden hose of claim 1 wherein said outer tube is              water;
made from a material which will not stretch longitudinally 40        connecting said second coupler to a water flow restrictor;
or laterally                                                         introducing a flow of pressurized water into said expand
  3. The garden hose of claim 2 wherein said outer tube is              ing hose through said first coupler;
made from a material selected from the group consisting of           restricting said flow of pressurized water exiting the
nylon , polyester, or polypropylene .                                   expanding hose , resulting in an increase in water pres
  4. The garden hose of claim 1 wherein said inner tube is 45           sure within said expanding hose between said first and
made from an elastic material with an elongation ratio of up            second couplers causing said inner tube to expand
to six to one and which can expand up to six times its                  longitudinally along a length of said inner tube and
contracted or unexpanded length .                                       laterally across a width of said inner tube thereby
   5. The garden hose of claim 1 including a first restrictor           increasing a length and width of said hose to an
sleeve secured to said first end of said inner and said outer 50        extended condition , and
tubes, and a second restrictor sleeve secured to said second         automatically contracting said expanding hose to a
end of said inner and said outer tubes,                                decreased length and width by removing said flow of
  whereby said first and second restrictor sleeves provide a           pressurized water into said expanding hose and remov
      gradual transition of the laterally outward expansion of          ing the increase in water pressure within said expand
      said inner tube when there is an increase in pressurized 55       ing hose between said first coupler and said second
      water within said inner tube interior between said first          coupler,
      coupler and said second coupler.                              whereby said inner tube moves freely with respect to said
   6. The garden hose of claim 1 wherein said inner tube and            outer tube when there is no water pressure differential
said outer tube are made from flexible materials which will             between said first coupler and said second coupler.
not kink or become entangled upon itself when said inner 60 16. The method of transporting water of claim 15 wherein
and said outer tubes are in their expanded condition .            said elastic inner tube is elongated up to six times its
   7. The garden hose of claim 5 including a first securing contracted or unexpanded length .
device securing said first restrictor sleeve , said outer tube ,     17. The method of transporting water of claim 15 includ
and said inner tube to said first coupler, and a second ing securing a first expansion restrictor sleeve to said first
securing device securing said another expansion restrictor 65 end of said inner and said outer tubes ;
sleeve, said outer tube and said inner tube to said second          securing a second expansion restrictor sleeve to said
coupler.                                                                second end of said inner and said outer tubes;
  Case: 1:23-cv-00631-BMB Doc #: 40-3 Filed: 04/23/24 18 of 18. PageID #: 1224


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                            17                                      18
  whereby when said increase in water pressure expands
    said inner tube , said first and second expansion restric
    tor sleeves restrain the expansion of said inner and said
    outer tubes and prevent said inner tube from increasing
    in diameter as a step function .                          5
   18. The method of transporting water of claim 15 includ
ing providing indicia on said outer tube and expanding said
outer tube longitudinally along a length of said outer tube
until said indicia is recognizable.
   19. The method of transporting water of claim 15 wherein 10
said outer tube constrains the lateral or radial expansion and
the longitudinal expansion of said inner tube upon an
increase of said water pressure between said first coupler
and said second coupler within said hose .
                                                             15
